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                                             Clerk, U.S. District Court, ILCD




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                                Attorney work product on pending litigation;
                                DOJ personnel matters; lack of relevance
                                (no reference to communications between
                                CSB and USAO)




                            Attorney work product on pending litigation;
                            DOJ personnel matters; lack of relevance
                            (no reference to communications between
                            CSB and USAO)




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                                Attorney work product on pending litigation;
                                DOJ personnel matters; lack of relevance
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                                CSB and USAO)




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                                Attorney work product on pending litigation;
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                                DOJ personnel matters; lack of relevance
                                (no reference to communications between
                                CSB and USAO)




                                Attorney work product on pending litigation;
                                DOJ personnel matters; lack of relevance
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                                CSB and USAO)




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                              Attorney work product on pending litigation;
2:15-cr-20057-JES-JEH # 213-2 DOJ
                               Pagepersonnel
                                     52 of 113matters; lack of relevance
                              (no reference to communications between
                              CSB and USAO)




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                                Attorney work product on pending litigation;
                                DOJ personnel matters; lack of relevance
                                (no reference to communications between
                                CSB and USAO)




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                            Attorney work product on pending litigation;
                            DOJ personnel matters; lack of relevance
                            (no reference to communications between
                            CSB and USAO)




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                            Attorney work product on pending litigation;
                            DOJ personnel matters; lack of relevance
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                            Attorney work product on pending litigation;
                            DOJ personnel matters; lack of relevance
                            (no reference to communications between
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                           Lack of relevance: potential internal
                           government investigations; no reference to
                           communications between CSB and USAO.
                           Attorney work product on pending litigation




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                          Attorney work product on pending litigation;
                          DOJ personnel matters; lack of relevance
                          (no reference to communications between
                          CSB and USAO)




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                           Attorney work product on pending litigation;
                           DOJ personnel matters; lack of relevance
                           (no reference to communications between
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                            Lack of relevance: potential internal
                            government investigations; no reference to
                            communications between CSB and USAO.
                            Attorney work product on pending litigation.




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                                Lack of relevance: potential internal
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                                government investigations; no reference to
                                communications between CSB and USAO.
                                Attorney work product on pending litigation.




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                                                 Privacy Act; confidential
                                                 personnel information




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                                                 Privacy Act; confidential
                                                 personnel information




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                                                 Privacy Act; confidential
                                                 personnel information




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